            Case 3:19-cv-00383 Document 1-2 Filed on 11/18/19 in TXSD Page 1 of 20
                 EXHIBIT 2
                                                                                           Invoice
                                                                  Invoice Number:                                  022234
                                                                  Invoice Date:                                 11/30/2018
                                                                  GC Project #                                 100005-002
                                                                  Project Name            77 American Petroleum Services
                                                                                                             Stack 6-2014
                                                                  Terms:                                         Net 30 Days
                                                                  Purchase Order:


 BILL TO:                                                          SUMMARY

77 American Petroleum Services                                    Shore Power charges from November 1 through
9543 Bissonet Street, Suite 301                                   November 30, 2018.
Houston, TX 77036

Adrian@77aps.com; administracion@77aps.com; mery@77aps.com



DESCRIPTION                                                                                                      AMOUNT
       77 American Petroleum Services:Shore Power                                                                          71.75
          287 KWH @ $0.25/KWH

         4494 CURRENT         11/30/2018
          4207 PREVIOUS       11/01/2018




                                                                                   Subtotal:                               71.75
                                                                                  Sales Tax:                                0.00
                                                                               Invoice Total:                              71.75



 WIRE TRANSFER INSTRUCTIONS:                                                           VIA CHECK:
 DOMESTIC Wiring Instructions (Preferred   INTERNATIONAL Wiring Instructions           ** Mail Checks To: **
 Method of Payment):                       (Foreign Currency):
 Beneficiary Name:Gulf Copper &            Beneficiary Name: Gulf Copper &             Gulf Copper & Manufacturing Corp.
 Manufacturing Corporation                 Manufacturing Corporation                   PO Box 4979
 Beneficiary Account#: 070058180           Beneficiary Account# 070058180              MSC# 400
 Receiving Bank: BBVA COMPASS              Receiving Bank: BBVA Compass                Houston, TX 77210
 ABA#: 062001186                           ABA#: 062001186
 Swift Code: CPASUS44                      Swift Code: CPASUS44XXX



                        Bank Information: BBVA Compass, 2200 Post Oak Blvd. 21st Floor Houston, TX 77056
                                                                                                                     Page: 1 of 1
            Case 3:19-cv-00383 Document 1-2 Filed on 11/18/19 in TXSD Page 2 of 20

                                                                                           Invoice
                                                                  Invoice Number:                                  022698
                                                                  Invoice Date:                                 12/31/2018
                                                                  GC Project #                                 100005-002
                                                                  Project Name            77 American Petroleum Services
                                                                                                             Stack 6-2014
                                                                  Terms:                                         Net 30 Days
                                                                  Purchase Order:


 BILL TO:                                                          SUMMARY

77 American Petroleum Services                                    Shore power fees from December 1, 2018 through
9543 Bissonet Street, Suite 301                                   January 2, 2019.
Houston, TX 77036

Adrian@77aps.com; administracion@77aps.com; mery@77aps.com



DESCRIPTION                                                                                                      AMOUNT
       77 American Petroleum Services:Shore Power                                                                          78.25
          313 KWH @ $0.25/KWH

         4807 CURRENT         01/02/2019
          4494 PREVIOUS       11/30/2018




                                                                                   Subtotal:                               78.25
                                                                                  Sales Tax:                                0.00
                                                                               Invoice Total:                              78.25



 WIRE TRANSFER INSTRUCTIONS:                                                           VIA CHECK:
 DOMESTIC Wiring Instructions (Preferred   INTERNATIONAL Wiring Instructions           ** Mail Checks To: **
 Method of Payment):                       (Foreign Currency):
 Beneficiary Name:Gulf Copper &            Beneficiary Name: Gulf Copper &             Gulf Copper & Manufacturing Corp.
 Manufacturing Corporation                 Manufacturing Corporation                   PO Box 4979
 Beneficiary Account#: 070058180           Beneficiary Account# 070058180              MSC# 400
 Receiving Bank: BBVA COMPASS              Receiving Bank: BBVA Compass                Houston, TX 77210
 ABA#: 062001186                           ABA#: 062001186
 Swift Code: CPASUS44                      Swift Code: CPASUS44XXX



                        Bank Information: BBVA Compass, 2200 Post Oak Blvd. 21st Floor Houston, TX 77056
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            Case 3:19-cv-00383 Document 1-2 Filed on 11/18/19 in TXSD Page 4 of 20

                                                                                           Invoice
                                                                  Invoice Number:                                    026415
                                                                  Invoice Date:                                    1/28/2019
                                                                  GC Project #                                   100005-002
                                                                  Project Name         Pacific Drilling Shipyard Services 6-
                                                                                                                    26-2014
                                                                  Terms:                                          Net 30 Days
                                                                  Purchase Order:


 BILL TO:                                                          SUMMARY

Pacific Drilling                                                  Berthage fees for the month of February 2019.
The Phoenix Centre
George Belleville, St. Michael,
ATTN: Adrian Guevara
Adrian@77aps.com; administracion@77aps.com; mery@77aps.com



DESCRIPTION                                                                                                       AMOUNT
       Pacific Drilling: Berthage                                                                                   28,000.00
         28 Days @ $1000/Day




                                                                                   Subtotal:                        28,000.00
                                                                                  Sales Tax:                             0.00
                                                                               Invoice Total:                       28,000.00



 WIRE TRANSFER INSTRUCTIONS:                                                           VIA CHECK:
 DOMESTIC Wiring Instructions (Preferred   INTERNATIONAL Wiring Instructions           ** Mail Checks To: **
 Method of Payment):                       (Foreign Currency):
 Beneficiary Name:Gulf Copper &            Beneficiary Name: Gulf Copper &             Gulf Copper & Manufacturing Corp.
 Manufacturing Corporation                 Manufacturing Corporation                   PO Box 4979
 Beneficiary Account#: 070058180           Beneficiary Account# 070058180              MSC# 400
 Receiving Bank: BBVA COMPASS              Receiving Bank: BBVA Compass                Houston, TX 77210
 ABA#: 062001186                           ABA#: 062001186
 Swift Code: CPASUS44                      Swift Code: CPASUS44XXX



                       Bank Information: BBVA Compass, 2200 Post Oak Blvd. 21st Floor Houston, TX 77056
                                                                                                                     Page: 1 of 1
            Case 3:19-cv-00383 Document 1-2 Filed on 11/18/19 in TXSD Page 5 of 20

                                                                                           Invoice
                                                                  Invoice Number:                                    026416
                                                                  Invoice Date:                                    2/28/2019
                                                                  GC Project #                                   100005-002
                                                                  Project Name         Pacific Drilling Shipyard Services 6-
                                                                                                                    26-2014
                                                                  Terms:                                         Net 30 Days
                                                                  Purchase Order:


 BILL TO:                                                          SUMMARY

Pacific Drilling                                                  Berthage Fees for March 2019
The Phoenix Centre
George Belleville, St. Michael,
ATTN: Adrian Guevara
Adrian@77aps.com; administracion@77aps.com; mery@77aps.com



DESCRIPTION                                                                                                      AMOUNT
       Pacific Drilling: Berthage                                                                                   31,000.00
         31 Days @ $1000/Day
        03/01/2019 to 03/31/2019




                                                                                   Subtotal:                        31,000.00
                                                                                  Sales Tax:                             0.00
                                                                               Invoice Total:                       31,000.00



 WIRE TRANSFER INSTRUCTIONS:                                                           VIA CHECK:
 DOMESTIC Wiring Instructions (Preferred   INTERNATIONAL Wiring Instructions           ** Mail Checks To: **
 Method of Payment):                       (Foreign Currency):
 Beneficiary Name:Gulf Copper &            Beneficiary Name: Gulf Copper &             Gulf Copper & Manufacturing Corp.
 Manufacturing Corporation                 Manufacturing Corporation                   PO Box 4979
 Beneficiary Account#: 070058180           Beneficiary Account# 070058180              MSC# 400
 Receiving Bank: BBVA COMPASS              Receiving Bank: BBVA Compass                Houston, TX 77210
 ABA#: 062001186                           ABA#: 062001186
 Swift Code: CPASUS44                      Swift Code: CPASUS44XXX



                       Bank Information: BBVA Compass, 2200 Post Oak Blvd. 21st Floor Houston, TX 77056
                                                                                                                     Page: 1 of 1
            Case 3:19-cv-00383 Document 1-2 Filed on 11/18/19 in TXSD Page 6 of 20

                                                                                           Invoice
                                                                  Invoice Number:                                    026417
                                                                  Invoice Date:                                    2/28/2019
                                                                  GC Project #                                   100005-002
                                                                  Project Name         Pacific Drilling Shipyard Services 6-
                                                                                                                    26-2014
                                                                  Terms:                                         Net 30 Days
                                                                  Purchase Order:


 BILL TO:                                                          SUMMARY

Pacific Drilling                                                  Shore Power Fees for the months of January and February
The Phoenix Centre                                                2019.
George Belleville, St. Michael,
ATTN: Adrian Guevara
Adrian@77aps.com; administracion@77aps.com; mery@77aps.com



DESCRIPTION                                                                                                      AMOUNT
       Pacific Drilling: Shore Power                                                                                   138.50
       January 2019 295 KWH @ $0.25/KWH

        5102 CURRENT 01/31/2019
        4807 PREVIOUS 12/31/2018

       February 2019     259 KWH @ $0.25/KWH

        5361 CURRENT        02/28/2019
        5102 PREVIOUS       01/31/2019




                                                                                   Subtotal:                           138.50
                                                                                  Sales Tax:                             0.00
                                                                               Invoice Total:                          138.50



 WIRE TRANSFER INSTRUCTIONS:                                                           VIA CHECK:
 DOMESTIC Wiring Instructions (Preferred   INTERNATIONAL Wiring Instructions           ** Mail Checks To: **
 Method of Payment):                       (Foreign Currency):
 Beneficiary Name:Gulf Copper &            Beneficiary Name: Gulf Copper &             Gulf Copper & Manufacturing Corp.
 Manufacturing Corporation                 Manufacturing Corporation                   PO Box 4979
 Beneficiary Account#: 070058180           Beneficiary Account# 070058180              MSC# 400
 Receiving Bank: BBVA COMPASS              Receiving Bank: BBVA Compass                Houston, TX 77210
 ABA#: 062001186                           ABA#: 062001186
 Swift Code: CPASUS44                      Swift Code: CPASUS44XXX



                       Bank Information: BBVA Compass, 2200 Post Oak Blvd. 21st Floor Houston, TX 77056
                                                                                                                     Page: 1 of 1
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                   DATE:                              01/31/2019

                METER#:                  Pacific 12
           JOB/LOCATION: 100005-002-002-001

        CURRENT READING:               5102
                    (LESS)
        PREVIOUS READING ----------------
                                       4807

                  USAGE                 295
                 (TIMES)
        METER MULTIPLIER ----------------

                    l<WH                                  295

                   Notes: SHORE POWER
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                   DATE:                             2/28/2019

                METER#:                Pacific 12

           JOB/LOCATION:

        CURRENT READING:                5361
                    (LESS)
        PREVIOUS READING ____
                             ___________:_5-=.10=2

                  USAGE                 259
                 (TIMES)
        METER MULTIPLIER _____________
                                      ___

                   KWH                                   259

                  Notes: SHORE POWER
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                                                                                           Invoice
                                                                  Invoice Number:                                    026418
                                                                  Invoice Date:                                    3/31/2019
                                                                  GC Project #                                   100005-002
                                                                  Project Name         Pacific Drilling Shipyard Services 6-
                                                                                                                    26-2014
                                                                  Terms:                                         Net 30 Days
                                                                  Purchase Order:


 BILL TO:                                                          SUMMARY

Pacific Drilling                                                  Berthage fees for the month of April 2019
The Phoenix Centre
George Belleville, St. Michael,
ATTN: Adrian Guevara
Adrian@77aps.com; administracion@77aps.com; mery@77aps.com



DESCRIPTION                                                                                                      AMOUNT
       Pacific Drilling: Berthage                                                                                   30,000.00
         31 Days @ $1000/Day
        03/01/2019 to 03/31/2019




                                                                                   Subtotal:                        30,000.00
                                                                                  Sales Tax:                             0.00
                                                                               Invoice Total:                       30,000.00



 WIRE TRANSFER INSTRUCTIONS:                                                           VIA CHECK:
 DOMESTIC Wiring Instructions (Preferred   INTERNATIONAL Wiring Instructions           ** Mail Checks To: **
 Method of Payment):                       (Foreign Currency):
 Beneficiary Name:Gulf Copper &            Beneficiary Name: Gulf Copper &             Gulf Copper & Manufacturing Corp.
 Manufacturing Corporation                 Manufacturing Corporation                   PO Box 4979
 Beneficiary Account#: 070058180           Beneficiary Account# 070058180              MSC# 400
 Receiving Bank: BBVA COMPASS              Receiving Bank: BBVA Compass                Houston, TX 77210
 ABA#: 062001186                           ABA#: 062001186
 Swift Code: CPASUS44                      Swift Code: CPASUS44XXX



                       Bank Information: BBVA Compass, 2200 Post Oak Blvd. 21st Floor Houston, TX 77056
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                                                                                           Invoice
                                                                  Invoice Number:                                    026419
                                                                  Invoice Date:                                    3/31/2019
                                                                  GC Project #                                   100005-002
                                                                  Project Name         Pacific Drilling Shipyard Services 6-
                                                                                                                    26-2014
                                                                  Terms:                                         Net 30 Days
                                                                  Purchase Order:


 BILL TO:                                                          SUMMARY

Pacific Drilling                                                  Shore power for the month of March 2019
The Phoenix Centre
George Belleville, St. Michael,
ATTN: Adrian Guevara
Adrian@77aps.com; administracion@77aps.com; mery@77aps.com



DESCRIPTION                                                                                                      AMOUNT
       Pacific Drilling: Shore Power                                                                                       75.50
       March 2019 302 KWH @ $0.25/KWH

        5663 CURRENT        03/31/2019
        5361 PREVIOUS       02/28/2019




                                                                                   Subtotal:                               75.50
                                                                                  Sales Tax:                                0.00
                                                                               Invoice Total:                              75.50



 WIRE TRANSFER INSTRUCTIONS:                                                           VIA CHECK:
 DOMESTIC Wiring Instructions (Preferred   INTERNATIONAL Wiring Instructions           ** Mail Checks To: **
 Method of Payment):                       (Foreign Currency):
 Beneficiary Name:Gulf Copper &            Beneficiary Name: Gulf Copper &             Gulf Copper & Manufacturing Corp.
 Manufacturing Corporation                 Manufacturing Corporation                   PO Box 4979
 Beneficiary Account#: 070058180           Beneficiary Account# 070058180              MSC# 400
 Receiving Bank: BBVA COMPASS              Receiving Bank: BBVA Compass                Houston, TX 77210
 ABA#: 062001186                           ABA#: 062001186
 Swift Code: CPASUS44                      Swift Code: CPASUS44XXX



                       Bank Information: BBVA Compass, 2200 Post Oak Blvd. 21st Floor Houston, TX 77056
                                                                                                                     Page: 1 of 1
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                   DATE:                              3/31/2019

                METER#:                Pacific 12

           JOB/LOCATION:

        CURRENT READING:                                 5663
                    (LESS)
        PREVIOUS READING _
                           ____________
                                                         5361
                  USAGE                 302
                 (TIMES)
        METER MULTIPLIER _____________
                                      ___

                   KWH                                    302

                  Notes: SHORE POWER
            Case 3:19-cv-00383 Document 1-2 Filed on 11/18/19 in TXSD Page 12 of 20

                                                                                           Invoice
                                                                  Invoice Number:                                    026420
                                                                  Invoice Date:                                    4/30/2019
                                                                  GC Project #                                   100005-002
                                                                  Project Name         Pacific Drilling Shipyard Services 6-
                                                                                                                    26-2014
                                                                  Terms:                                         Net 30 Days
                                                                  Purchase Order:


 BILL TO:                                                          SUMMARY

Pacific Drilling                                                  Berthage for the month of May 2019
The Phoenix Centre
George Belleville, St. Michael,
ATTN: Adrian Guevara
Adrian@77aps.com; administracion@77aps.com; mery@77aps.com



DESCRIPTION                                                                                                      AMOUNT
       Pacific Drilling: Berthage                                                                                   31,000.00
         31 Days @ $1000/Day
        05/01/2019 to 05/31/2019




                                                                                   Subtotal:                        31,000.00
                                                                                  Sales Tax:                             0.00
                                                                               Invoice Total:                       31,000.00



 WIRE TRANSFER INSTRUCTIONS:                                                           VIA CHECK:
 DOMESTIC Wiring Instructions (Preferred   INTERNATIONAL Wiring Instructions           ** Mail Checks To: **
 Method of Payment):                       (Foreign Currency):
 Beneficiary Name:Gulf Copper &            Beneficiary Name: Gulf Copper &             Gulf Copper & Manufacturing Corp.
 Manufacturing Corporation                 Manufacturing Corporation                   PO Box 4979
 Beneficiary Account#: 070058180           Beneficiary Account# 070058180              MSC# 400
 Receiving Bank: BBVA COMPASS              Receiving Bank: BBVA Compass                Houston, TX 77210
 ABA#: 062001186                           ABA#: 062001186
 Swift Code: CPASUS44                      Swift Code: CPASUS44XXX



                       Bank Information: BBVA Compass, 2200 Post Oak Blvd. 21st Floor Houston, TX 77056
                                                                                                                     Page: 1 of 1
            Case 3:19-cv-00383 Document 1-2 Filed on 11/18/19 in TXSD Page 13 of 20

                                                                                           Invoice
                                                                  Invoice Number:                                    026421
                                                                  Invoice Date:                                     5/1/2019
                                                                  GC Project #                                   100005-002
                                                                  Project Name         Pacific Drilling Shipyard Services 6-
                                                                                                                    26-2014
                                                                  Terms:                                         Net 30 Days
                                                                  Purchase Order:


 BILL TO:                                                          SUMMARY

Pacific Drilling                                                  Shore Power charges for April 2019
The Phoenix Centre
George Belleville, St. Michael,
ATTN: Adrian Guevara
Adrian@77aps.com; administracion@77aps.com; mery@77aps.com



DESCRIPTION                                                                                                      AMOUNT
       Pacific Drilling: Shore Power                                                                                       22.25
       March 2019 302 KWH @ $0.25/KWH

        5663 CURRENT        03/31/2019
        5361 PREVIOUS       02/28/2019




                                                                                   Subtotal:                               22.25
                                                                                  Sales Tax:                                0.00
                                                                               Invoice Total:                              22.25



 WIRE TRANSFER INSTRUCTIONS:                                                           VIA CHECK:
 DOMESTIC Wiring Instructions (Preferred   INTERNATIONAL Wiring Instructions           ** Mail Checks To: **
 Method of Payment):                       (Foreign Currency):
 Beneficiary Name:Gulf Copper &            Beneficiary Name: Gulf Copper &             Gulf Copper & Manufacturing Corp.
 Manufacturing Corporation                 Manufacturing Corporation                   PO Box 4979
 Beneficiary Account#: 070058180           Beneficiary Account# 070058180              MSC# 400
 Receiving Bank: BBVA COMPASS              Receiving Bank: BBVA Compass                Houston, TX 77210
 ABA#: 062001186                           ABA#: 062001186
 Swift Code: CPASUS44                      Swift Code: CPASUS44XXX



                       Bank Information: BBVA Compass, 2200 Post Oak Blvd. 21st Floor Houston, TX 77056
                                                                                                                     Page: 1 of 1
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                                                                                           Invoice
                                                                  Invoice Number:                                    026422
                                                                  Invoice Date:                                    5/31/2019
                                                                  GC Project #                                   100005-002
                                                                  Project Name         Pacific Drilling Shipyard Services 6-
                                                                                                                    26-2014
                                                                  Terms:                                         Net 30 Days
                                                                  Purchase Order:


 BILL TO:                                                          SUMMARY

Pacific Drilling                                                  Berthage fees for June 2019
The Phoenix Centre
George Belleville, St. Michael,
ATTN: Adrian Guevara
Adrian@77aps.com; administracion@77aps.com; mery@77aps.com



DESCRIPTION                                                                                                      AMOUNT
       Pacific Drilling: Berthage                                                                                   30,000.00
         30 Days @ $1000/Day
        06/01/2019 to 06/30/2019




                                                                                   Subtotal:                        30,000.00
                                                                                  Sales Tax:                             0.00
                                                                               Invoice Total:                       30,000.00



 WIRE TRANSFER INSTRUCTIONS:                                                           VIA CHECK:
 DOMESTIC Wiring Instructions (Preferred   INTERNATIONAL Wiring Instructions           ** Mail Checks To: **
 Method of Payment):                       (Foreign Currency):
 Beneficiary Name:Gulf Copper &            Beneficiary Name: Gulf Copper &             Gulf Copper & Manufacturing Corp.
 Manufacturing Corporation                 Manufacturing Corporation                   PO Box 4979
 Beneficiary Account#: 070058180           Beneficiary Account# 070058180              MSC# 400
 Receiving Bank: BBVA COMPASS              Receiving Bank: BBVA Compass                Houston, TX 77210
 ABA#: 062001186                           ABA#: 062001186
 Swift Code: CPASUS44                      Swift Code: CPASUS44XXX



                       Bank Information: BBVA Compass, 2200 Post Oak Blvd. 21st Floor Houston, TX 77056
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                                                                                           Invoice
                                                                  Invoice Number:                                    026423
                                                                  Invoice Date:                                    6/30/2019
                                                                  GC Project #                                   100005-002
                                                                  Project Name         Pacific Drilling Shipyard Services 6-
                                                                                                                    26-2014
                                                                  Terms:                                         Net 30 Days
                                                                  Purchase Order:


 BILL TO:                                                          SUMMARY

Pacific Drilling                                                  Berthage fees for July 2019
The Phoenix Centre
George Belleville, St. Michael,
ATTN: Adrian Guevara
Adrian@77aps.com; administracion@77aps.com; mery@77aps.com



DESCRIPTION                                                                                                      AMOUNT
       Pacific Drilling: Berthage                                                                                   31,000.00
         31 Days @ $1000/Day
        07/01/2019 to 07/31/2019




                                                                                   Subtotal:                        31,000.00
                                                                                  Sales Tax:                             0.00
                                                                               Invoice Total:                       31,000.00



 WIRE TRANSFER INSTRUCTIONS:                                                           VIA CHECK:
 DOMESTIC Wiring Instructions (Preferred   INTERNATIONAL Wiring Instructions           ** Mail Checks To: **
 Method of Payment):                       (Foreign Currency):
 Beneficiary Name:Gulf Copper &            Beneficiary Name: Gulf Copper &             Gulf Copper & Manufacturing Corp.
 Manufacturing Corporation                 Manufacturing Corporation                   PO Box 4979
 Beneficiary Account#: 070058180           Beneficiary Account# 070058180              MSC# 400
 Receiving Bank: BBVA COMPASS              Receiving Bank: BBVA Compass                Houston, TX 77210
 ABA#: 062001186                           ABA#: 062001186
 Swift Code: CPASUS44                      Swift Code: CPASUS44XXX



                       Bank Information: BBVA Compass, 2200 Post Oak Blvd. 21st Floor Houston, TX 77056
                                                                                                                     Page: 1 of 1
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                                                                                           Invoice
                                                                  Invoice Number:                                    026856
                                                                  Invoice Date:                                    7/31/2019
                                                                  GC Project #                                   100005-002
                                                                  Project Name         Pacific Drilling Shipyard Services 6-
                                                                                                                    26-2014
                                                                  Terms:                                         Net 30 Days
                                                                  Purchase Order:


 BILL TO:                                                          SUMMARY

Pacific Drilling                                                  Berthage fees for the month of July 2019. Shore power
The Phoenix Centre                                                charges to be billed at a later date.
George Belleville, St. Michael,
ATTN: Adrian Guevara
Adrian@77aps.com; administracion@77aps.com; mery@77aps.com



DESCRIPTION                                                                                                      AMOUNT
       Pacific Drilling: Berthage                                                                                   31,000.00
         31 Days @ $1000/Day
        07/01/2019 to 07/31/2019




                                                                                   Subtotal:                        31,000.00
                                                                                  Sales Tax:                             0.00
                                                                               Invoice Total:                       31,000.00



 WIRE TRANSFER INSTRUCTIONS:                                                           VIA CHECK:
 DOMESTIC Wiring Instructions (Preferred   INTERNATIONAL Wiring Instructions           ** Mail Checks To: **
 Method of Payment):                       (Foreign Currency):
 Beneficiary Name:Gulf Copper &            Beneficiary Name: Gulf Copper &             Gulf Copper & Manufacturing Corp.
 Manufacturing Corporation                 Manufacturing Corporation                   PO Box 4979
 Beneficiary Account#: 070058180           Beneficiary Account# 070058180              MSC# 400
 Receiving Bank: BBVA COMPASS              Receiving Bank: BBVA Compass                Houston, TX 77210
 ABA#: 062001186                           ABA#: 062001186
 Swift Code: CPASUS44                      Swift Code: CPASUS44XXX



                       Bank Information: BBVA Compass, 2200 Post Oak Blvd. 21st Floor Houston, TX 77056
                                                                                                                     Page: 1 of 1
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                                                                                           Invoice
                                                                  Invoice Number:                                    027682
                                                                  Invoice Date:                                    9/30/2019
                                                                  GC Project #                                   100005-002
                                                                  Project Name         Pacific Drilling Shipyard Services 6-
                                                                                                                    26-2014
                                                                  Terms:                                         Net 30 Days
                                                                  Purchase Order:


 BILL TO:                                                          SUMMARY

Pacific Drilling                                                  Pacific Drilling Shipyard Services Berthage for
The Phoenix Centre
George Belleville, St. Michael,                                   September 2019.
ATTN: Adrian Guevara
Adrian@77aps.com; administracion@77aps.com; mery@77aps.com



DESCRIPTION                                                                                                      AMOUNT
       Pacific Drilling: Berthage                                                                                   30,000.00
        30 Days @ $1000/Day
        09/01/2019 to 09/30/2019




                                                                                   Subtotal:                        30,000.00
                                                                                  Sales Tax:                             0.00
                                                                               Invoice Total:                       30,000.00



 WIRE TRANSFER INSTRUCTIONS:                                                           VIA CHECK:
 DOMESTIC Wiring Instructions (Preferred   INTERNATIONAL Wiring Instructions           ** Mail Checks To: **
 Method of Payment):                       (Foreign Currency):
 Beneficiary Name:Gulf Copper &            Beneficiary Name: Gulf Copper &             Gulf Copper & Manufacturing Corp.
 Manufacturing Corporation                 Manufacturing Corporation                   PO Box 4979
 Beneficiary Account#: 070058180           Beneficiary Account# 070058180              MSC# 400
 Receiving Bank: BBVA COMPASS              Receiving Bank: BBVA Compass                Houston, TX 77210
 ABA#: 062001186                           ABA#: 062001186
 Swift Code: CPASUS44                      Swift Code: CPASUS44XXX



                       Bank Information: BBVA Compass, 2200 Post Oak Blvd. 21st Floor Houston, TX 77056
                                                                                                                     Page: 1 of 1
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                                                                                            Invoice
                                                                  Invoice Number:                                     028303
                                                                  Invoice Date:                                    10/31/2019
                                                                  GC Project #                                    100005-002
                                                                  Project Name          Pacific Drilling Shipyard Services 6-
                                                                                                                     26-2014
                                                                  Terms:                                           Net 30 Days
                                                                  Purchase Order:


 BILL TO:                                                          SUMMARY

Pacific Drilling                                                  Pacific Drilling: Pacific 12 Berthage for October 2019.
The Phoenix Centre
George Belleville, St. Michael,
ATTN: Adrian Guevara
Adrian@77aps.com; administracion@77aps.com; mery@77aps.com



DESCRIPTION                                                                                                       AMOUNT
       Pacific Drilling: Berthage                                                                                    31,000.00
        31 Days @ $1000/Day
        10/01/2019 to 10/31/2019




                                                                                   Subtotal:                         31,000.00
                                                                                  Sales Tax:                              0.00
                                                                               Invoice Total:                        31,000.00



 WIRE TRANSFER INSTRUCTIONS:                                                           VIA CHECK:
 DOMESTIC Wiring Instructions (Preferred   INTERNATIONAL Wiring Instructions           ** Mail Checks To: **
 Method of Payment):                       (Foreign Currency):
 Beneficiary Name:Gulf Copper &            Beneficiary Name: Gulf Copper &             Gulf Copper & Manufacturing Corp.
 Manufacturing Corporation                 Manufacturing Corporation                   PO Box 4979
 Beneficiary Account#: 070058180           Beneficiary Account# 070058180              MSC# 400
 Receiving Bank: BBVA COMPASS              Receiving Bank: BBVA Compass                Houston, TX 77210
 ABA#: 062001186                           ABA#: 062001186
 Swift Code: CPASUS44                      Swift Code: CPASUS44XXX



                       Bank Information: BBVA Compass, 2200 Post Oak Blvd. 21st Floor Houston, TX 77056
                                                                                                                       Page: 1 of 1
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                                                                                           Invoice
                                                                  Invoice Number:                                    027408
                                                                  Invoice Date:                                    8/31/2019
                                                                  GC Project #                                   100005-002
                                                                  Project Name         Pacific Drilling Shipyard Services 6-
                                                                                                                    26-2014
                                                                  Terms:                                         Net 30 Days
                                                                  Purchase Order:


 BILL TO:                                                          SUMMARY

Pacific Drilling                                                  Pacific Drilling August 2019 Berthage
The Phoenix Centre
George Belleville, St. Michael,
ATTN: Adrian Guevara
Adrian@77aps.com; administracion@77aps.com; mery@77aps.com



DESCRIPTION                                                                                                      AMOUNT
       Pacific Drilling: Berthage                                                                                   31,000.00
         31 Days @ $1000/Day
        08/01/2019 to 08/31/2019




                                                                                   Subtotal:                        31,000.00
                                                                                  Sales Tax:                             0.00
                                                                               Invoice Total:                       31,000.00



 WIRE TRANSFER INSTRUCTIONS:                                                           VIA CHECK:
 DOMESTIC Wiring Instructions (Preferred   INTERNATIONAL Wiring Instructions           ** Mail Checks To: **
 Method of Payment):                       (Foreign Currency):
 Beneficiary Name:Gulf Copper &            Beneficiary Name: Gulf Copper &             Gulf Copper & Manufacturing Corp.
 Manufacturing Corporation                 Manufacturing Corporation                   PO Box 4979
 Beneficiary Account#: 070058180           Beneficiary Account# 070058180              MSC# 400
 Receiving Bank: BBVA COMPASS              Receiving Bank: BBVA Compass                Houston, TX 77210
 ABA#: 062001186                           ABA#: 062001186
 Swift Code: CPASUS44                      Swift Code: CPASUS44XXX



                       Bank Information: BBVA Compass, 2200 Post Oak Blvd. 21st Floor Houston, TX 77056
                                                                                                                     Page: 1 of 1
